        Case 4:21-cv-01079-MWB Document 41 Filed 08/18/22 Page 1 of 1




     IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE
                  DISTRICT OF PENNSYLVANIA


WARNER VALLEY FARM, LLC
                   Plaintiff,
v.                                                  No. 4:21-CV-01079
                                                    Chief Judge Brann
SWN PRODUCTION COMPANY, LLC,
                   Defendant.
                                     ORDER


      AND NOW, this 18th day of August 2022, upon consideration of the Motion

of the Marcellus Shale Coalition and the brief filed in support thereof IT IS

HEREBY ORDERED that:


      1. The Motion is granted. The Marcellus Shale Coalition may file a brief as

         amicus curiae regarding the legal issues set forth in Count III of the

         complaint.

      2. The Marcellus Shale Coalition shall file the brief that is attached as Exhibit

         A to the above-referenced Motion via ECF as a separate docket entry.

                                                   BY THE COURT:

                                                   s/ Matthew W. Brann
                                                   Matthew W. Brann
                                                   Chief United States Distrist Judge
